                               Fourth Court of Appeals
                                     San Antonio, Texas
                                 MEMORANDUM OPINION
                                         No. 04-24-00151-CV

                              IN THE INTEREST OF L.Z.R., a Child

                      From the 73rd Judicial District Court, Bexar County, Texas
                                   Trial Court No. 2022PA01163
                         Honorable Charles E. Montemayor, Judge Presiding

PER CURIAM

Sitting:          Rebeca C. Martinez, Chief Justice
                  Luz Elena D. Chapa, Justice
                  Irene Rios, Justice

Delivered and Filed: August 14, 2024

DISMISSED FOR WANT OF PROSECUTION

           Appellant C.M.R.’s brief was originally due on April 29, 2024. On May 17, 2024, we

issued an order notifying appellant that her brief was past due and requested that appellant file her

brief no later than May 24, 2024. On June 13, 2024, appellant filed a pro se brief. We struck

appellant’s pro se brief because it violated numerous provisions in Texas Rule of Appellate

Procedure 38.1. We ordered appellant to file an amended brief that complied with Rule 38.1 on

or before July 10, 2024.

           On July 18, 2024, this court ordered appellant to show cause in writing by July 29, 2024,

why this appeal should not be dismissed for want of prosecution. Appellant did not respond.

Accordingly, the appeal is dismissed for want of prosecution. See TEX. R. APP. P. 37.3(b), 42.3(b).

Costs of the appeal are taxed against appellant.

                                                   PER CURIAM
